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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF F'LORIDA




                                                    Civil Action No.   t :21 -cv -22440-KMW
    DONALD J. TRUMP, the Forty-Fifth President of
    the United States, ELIZABETH ALBERT,
    KIYAN AND BOBBY MICHAEL, JENNIFER
    HORTON, ANDRES CABO, MAGALYS zuOS,
    AND MARIA RODRIGUEZ.FRESNEDA,
    INDIVIDUALLY AND ON BEHALF OF
    THOSE SIMILARLY SITUATED,

                   Plaintiffs,

               v

    FACEBOOK, INC., and MARK ZUCKERBERG


                   Defendants.




                         DECLARATION OF ALAN M. DERSHOWITZ
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                                  Affidavit in support of Motion for preliminary hjunction

        State   of /ltlCrnctoJ rfS
        County   of Do(As
        Before me the undersigned personally came and appeared.

                                    ALAN M. DERSHOWITZ

       who being first duly swom, deposed and said:

                 l.         I am the Felix Frankfurter Professor of Law (emeritus)      at Harvard   University. I
       am a democrat who has voted for every Democratic candidate for President since
                                                                                      1960. I have

       long supported freedom of speech without regard to partisanship. I served on the National
                                                                                                 Board

       of the ACLU and on Harvard Law School's Committee on Free Speech. I have received several

       awards for my defense of free speech and have argued numerous free speeoh cases in
                                                                                          the courts,

       including the Supreme Court. I have written extensively about freedom of speech and the
                                                                                               First

       Amendment. Two of my recent books             -   Cancel Culture, and the Case Against the New

      Censorship      -   deal with the issue in this case.

                2'         A copy of my current curriculum vita is attached    as   Exhibit l.

                3'         I have previously been qualified to testi$   as an expert in   public law.

                4.         I have reviewed the complaints to be filed in this matter attached as Exhibit 2 and,

      3. I have   been asked to offer my opinion as to whether or not the request for preliminary

      injunctive relief sought herein satisfies the criteria of F.R.c.p. 65.

                5.        In lVinter v. Natural Resources Defense Council, Inc-,555 U.S.         7 (2008), the

      Supreme Court described the balance test for whether a preliminary iqiunction is appropriate.
                                                                                                                 A
     court needs to examine whether the          plaintiffis likely to succeed on the merits, whether    the

     plaintiff is likely to suffer irreparable harm without the injunction, whether the balance of




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          equities and hardships is in the   plaintiffs tbvor, and whether no injunction is in the public

          interest.

                   6.      My opinion is that the plaintiff   s   right to speak freely has been seriously

          compromised by Facebook and        Twitter. Moreover, the rights of his     audience to have access to

       his views have also been curtailed.

                   7.      The question of social media censorship under Section 230 is an issue of major

       legal importance and I believe the allegations of the Complaints which I have reviewed raise

       serious, substantial legal issues some of which have not been heretofore titigated.

                  8.      A preliminary injunction is in the public interest. Censoring the 45th President of

       the United States, the leader of the Republican        pafi, will have an adverse    and unknowable effect

       on the 2022 eLections.

                  9.      The number of people the former President reached through social media was

      staggering.

                  10.     Democracy demands a level playing field.

                  11.     Unless preliminary relief is granted, it is likely that the censorship imposed by

      Facebook and Twitter        will impact the2022 elections.

                  12.     The precise effect of continuing censorship is unpredictable but       it is likely to have

      a   profound impact, which will cause the plaintiffand the electorate irreparable harm.




      Dated:                                                                     4,
                                                                             M. DERSHOWTTZ

      Sworn to and subscribed before me
      this    f   day   of Jok.2o2t.




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       s       Diana L. DeBlase
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              My Commlsslon Explres
                         18, 2025




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                                                EXHIBIT    1



          Professor Alan M. Dershowitz is a Brooklyn native who has been called "the nation,s
          most peripatetic civil liberties lawyer" and one of its "most distinguished defenders of
          individual rights," "the best-known criminal lawyer in the world,";the top lawyer of last
         resort"' He has been named America's most "public Jewish Defender," -- "the Jewish
         state's lead attorney in the court of public opinion." He is the Felix Frankfurter professor
         of Law, emeritus, at Harvard Law School. Dershowitz, a graduate of Brooklyn College
         and Yale Law School, joined the Harvard Law Schooltacutty at age 25 the youngest
                                                                                     -
         in the school's history -- and became an emeritus professor'after"50 years of ieachlng
         more than 10,000 students.
         Dershowitz has been called the "winningest" criminal lawyer in modern history and has
         argued hundreds of appeals in courts throughout the nation. He has won the vast
         majority of his homicide cases and has never lost a client to the death penalty. He
         continues to consult actively on both transnational and domestic criminal andcivil liberty
         cases' He continues to devote half of his practice to pro bono cases and causes.
         Dershowitz has also published more than 1000 articles in magazines, newspapers,
        journals and blogs. These include the New York Times, for w[icn he
                                                                                   has written
        numerous op-eds, book reviews and afticles for the News of the Week in Review, as
        well as for the Magazine and entertainment sections. He has also written for The Wall
        Street Journal, The Washington Post, The Boston Globe, The Harvard Law Review, the
        Yale Law Journal,-the Huffington Post, Gatestone, Newsmax, Jerusalem post, Ha,aretz,
        and Algemeiner. Professor Dershowitz is the author of 40 fiction and non-fiction works
        with a worldwide audience, including the New York Times #1 bestseller Chutzpah and
        six other national bestsellers, His autobiography, Taking the Stand: My Life in the Law,
       was published in 2013. Other current titles include his eBook, Electile Dysfunction: A
       Guide for Unaroused Voters (2016) and Trumped upl How Criminalizing politics is
       Dangerous to Democracy (2017). The Case Against BDS was publishjd in 201g, as
       was his newest book, The Case Against lmpeaching Trump, which is available now with
       updated chapters as The Case Against the Democritic House lmpeaching Trump.
       ln addition to his numerous law review articles and books about criminal and
       constitutional law, he has written, taught and lectured about history, philosophy,
       psychology, literature, mathematics, theology, music, sports and even delicaiessens
                                                                          -
      (he was commissioned by The New York Times to write an op-ed comparing all of New
      York's delis and selecting the best pastrami; he picked Katz's).
      His writing has been praised by Truman Capote, Saul Bellow, William Styron, David
      Mamet, Aharon Appelfeld, A.B. Yehoshua, Elie Wiesel, Richard Norlh pjtterson, Steven
      Pinker and Henry Louis Gates, Jr. More than a million of his books-translated in many
      languages -- fave been sold worldwide.
      He has also been the recipient of numerous honorary doctor degrees and academic
     awands jncluding a Guggenheim Fellowship for his work on humln rights, a fellowship
     at The Center for the Advanced Study of Behavioral Sciences and se-veral Dean's
     Awards for his books.
     ln 1983, the Anti-Defamation League of the B'nai B'rith presented him with the William
     O. Douglas First Amendment Award for his "compassionate eloquent leadership and
     persistent advocacy jn the struggle for civil and human rights." ln presenting the
                                                                                               award,
     Nobel Laureate Elie Wiesel said: "lf there had been a few people like Alan Dershowitz
     during the 1930s and 1940s, the history of European Jewry might have been different,"
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        He has been the subject of two New Yorker cartoons, a New york Times crossword
       puzzle, and a Trivial Pursuit question. A Sandwich at Fenway Park has
                                                                              been named
       after him-pastrami, of course.
       He is married to Carolyn Cohen, a Ph.D. psychologist. He has three children, one
                                                                                        a film
       producer, one a lawyer for the Women's Basketball Association and one professional
                                                                              a
       actor. He also has two grandchildren.
